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                              UNITED STATES BANKRUPTCY COURT
                                          FOR THE
                               WESTERN DISTRICT OF KENTUCKY

     IN RE:                              )
                                         )
     CAIR HEATING AND COOLING, LLC )                     CASE NO. 23-31622-crm
           Debtor                        )               Chapter 7
     ____________________________________)

           TRUSTEE’S RESPONSE TO HCC CONSTRUCTION, LLC’S
         MOTION TO COMPEL REJECTION OF SUBCONTRACTS [DN 295]

              Wm. Stephen Reisz, trustee of the bankruptcy estate of Cair Heating and

     Cooling, LLC (“Trustee”), for his response to the motion of HCC Construction, LLC

     to compel rejection of subcontracts [DN 295] states he has reviewed the motion and

     the tendered order [DN 295]. Based on the facts set out in the motion: Trustee has no

     objection to the motion being granted and tendered order being entered.

                                                 Respectfully submitted,

                                                   /s/ Wm. Stephen Reisz
                                                 Wm. Stephen Reisz, Trustee
                                                 401 W. Main St., Ste. 1400
                                                 Louisville, Kentucky 40202
                                                 (502) 584-1000



                                 CERTIFICATE OF SERVICE
             I hereby certify that a copy of the foregoing was on January 4, 2024 mailed
     electronically through the US Bankruptcy Court’s ECF system at the electronic
     addresses set forth in the ECF system to all other parties receiving electronic
     notifications in this case.

                                                  /s/ Wm. Stephen Reisz
                                                 Wm. Stephen Reisz
